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F'LE‘D B"f V{Q/,__ o.o.
IN THE UNITED sTATEs DISTRICT coURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG |6 AH H= 23

 

WESTERN DIvIsIoN
CtEHM§"?-SYYQM
UNITED sTATES oF AMERICA, LW'J GF"~ . a
Piaimiff,
v. No. 05-20091-B/v

SIDNEY THURMAN,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion for Bond Hearing filed on August 4, 2005.
This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge's order shall be made within ten (10) days after service of the

order, setting forth particularly those portions of the order objected to and the reasons for the

objections

(t\
IT IS so 0RDERE1) this L day of Augusr, 2005.

 

J. DANIEL BREEN
IT D STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20091 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

